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     LIMITED and Q CYBER TECHNOLOGIES LIMITED
 7
                                 UNITED STATES DISTRICT COURT
 8
                                NORTHERN DISTRICT OF CALIFORNIA
 9
                                        OAKLAND DIVISION
10

11   WHATSAPP INC., a Delaware corporation,       Case No. 4:19-cv-07123-PJH
     and FACEBOOK, INC., a Delaware
12   corporation,                                 JOINT STIPULATION AND
                                                  [PROPOSED] ORDER RE PRETRIAL
13                Plaintiffs,                     FILING DEADLINES [BASED ON
                                                  UNAVAILABILITY OF COUNSEL DUE
14         v.                                     TO EATON WILDFIRE]
15   NSO GROUP TECHNOLOGIES LIMITED
     and Q CYBER TECHNOLOGIES LIMITED,            Action Filed: 10/29/2019
16

17                Defendants.

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     JOINT STIPULATION AND [PROPOSED]                                 Case No. 4:19-cv-07123-PJH
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 1             Pursuant to Civil Local Rules 6-1(b) and 6-2, and as supported by the Declaration of Joseph

 2   N. Akrotirianakis filed herewith, Defendants NSO Group Technologies Limited and Q Cyber

 3   Technologies Limited (“Defendants”), and Plaintiffs WhatsApp LLC and Meta Platforms, Inc.

 4   (“Plaintiffs”) (collectively, the “Parties”) hereby stipulate and agree to the following and

 5   respectfully request that the Court extend by one week the January 16, 2025, deadline for pretrial

 6   filings and the deadlines set forth in the Court’s January 10, 2025 order related to Defendants’

 7   substitution of its expert witness.

 8             WHEREAS, section B of the Court’s Civil Pretrial Instructions, entitled “Final Pretrial

 9   Conference,” provides, in paragraph B.3, that counsel for the parties shall prepare and file

10   numerous joint or individual pretrial documents and exchange all trial exhibits.

11             WHEREAS, on January 7, 2025, the Eaton Fire started began in Altadena, California, has

12   displaced many thousands of residents in Altadena and its surrounding communities, including the

13   families of Defendants’ trial counsel, Joe Akrotirianakis and Aaron Craig.

14             WHEREAS, the current containment of the Eaton Fire is announced to be 3%;

15             WHEREAS, even prior to mandatory evacuations, what remains of Altadena has been

16   without electricity and has not had water for several days, and between evacuating and relocating

17   their families and attending to other matters related to the Eaton fire, Defendants’ counsel have

18   had extremely limited ability to perform any work on Defendants’ pretrial filings.

19             WHEREAS, there has been no announcement when evacuation orders will be lifted or

20   power or water restored, with suggestion by some public officials that evacuation orders may

21   continue until Friday, January 17, 2025;

22             WHEREAS, on January 10, 2025, the Court issued an order granting Defendants’ Motion

23   to Substitute their expert, John Town, with Joshua Minkler and provided, on page two of that order,

24   a schedule related to the substitution beginning with deadlines on January 16, 2025 (Dkt. No. 519);

25             NOW THEREFORE, the Parties respectfully request that the Court grant the proposed

26   order submitted herewith and continue by one week the deadlines in paragraph B.3 and B.5 of the

27   Court’s Civil Pretrial Instructions, continue by one week the deadlines related to the omnibus

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     JOINT STIPULATION AND [PROPOSED]                        1                  Case No. 4:19-cv-07123-PJH
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 1   sealing motions described on page 15 of the Court’s December 20, 2024, Order re Motions for

 2   Summary Judgment, Motion for Sanctions, and Discovery Letter Briefs (Dkt. No. 494), and

 3   continue by one week the deadlines on page two of the Court’s January 10, 2025 Order re Motion

 4   to Substitute Expert, Discovery Letter Brief (Dkt. No. 519).

 5   DATED: January 11, 2025                            KING & SPALDING LLP
 6

 7
                                                        By: /s/ Joseph N. Akrotirianakis_________
 8                                                          JOSEPH N. AKROTIRIANAKIS
                                                            AARON S. CRAIG
 9                                                          Attorneys for Defendants
                                                            NSO GROUP TECHNOLOGIES
10
                                                            LIMITED AND Q CYBER
11                                                          TECHNOLOGIES LIMITED

12
                                                        By: /s/ Micah G. Block
13                                                          Greg D. Andres
14                                                          Antonio J. Perez-Marques
                                                            Craig T. Cagney
15                                                          Micah G. Block
                                                            DAVIS POLK & WARDWELL LLP
16                                                          Attorneys for Plaintiffs
                                                            WHATSAPP LLC AND META
17
                                                            PLATFORMS, INC
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19                                        L.R. 5-1 ATTESTATION
20          I, Joseph N. Akrotirianakis, attest that all signatories listed herein, and on whose behalf
21   this filing is submitted, concur in this filing’s content and have authorized this filing.
22
                                                    By:     /s/     Joseph N. Akrotirianakis
23                                                                JOSEPH N. AKROTIRIANAKIS
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     JOINT STIPULATION AND [PROPOSED]                        2                   Case No. 4:19-cv-07123-PJH
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 1                                        [PROPOSED] ORDER

 2          Pursuant to the stipulation of the parties and good cause therefor having been shown, the

 3   Court orders that the deadline for the filings required by paragraph B.3 of the Court’s Civil Pretrial

 4 Instructions, entitled “Final Pretrial Conference,” will be continued until Thursday, January 23,

 5 2025, the deadline for the filings required by paragraph B.5 of the Court’s Civil Pretrial

 6 Instructions will be continued until February 6, 2025, the deadlines for the Ominbus sealing

 7 motions described on described on page 15 of the Court’s December 20, 2024, Order re Motions

 8 for Summary Judgment, Motion for Sanctions, and Discovery Letter Briefs (Dkt. No. 494) will be
 9 continued until January 24 and January 31, 2025; and the deadlines related to Defendants’

10 substitution of its expert witness set forth in the Court’s January 10, 2025 Order re Motion to

11 Substitute Expert, Discovery Letter Brief (Dkt. No. 519) will be continued to January 23, 2025

12   (for deposition of Mr. Minkler), January 30, 2025 (to file a Daubert motion or motion in limine

13   pertaining to Mr. Minkler’s testimony), February 6, 2025 (for oppositions to such motions),

14   January 23, 2025 for any rebuttal expert report; January 29, 2025 (to depose that rebuttal expert

15   (if any); February 3, 2025 (to file a Daubert motion or motion in limine pertaining that rebuttal

16   testimony); and February 7, 2025 (to oppose any such motions).

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18          IT IS SO ORDERED.                                         T
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     Dated: January ___,                                _________________________________     n
                                                        The Honorable      Phyllis    Hamilto
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     JOINT STIPULATION AND [PROPOSED]                       3                          Case No. 4:19-cv-07123-PJH
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